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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MBRYLAND

 

 

DONNELL DUSHANE STRIPLING, * Case No.: DKC 12-3408
EKSONAL REPRESENTATIVE OF

'HE ESTATE OF DORETHA *
TRIPLING
200 Walnut Street, N.E. *

ashington, DC 20018

Plaintiff
vs. *

MEDSTAR GEORGETOWN MEDICAL *
CENTER, INC.

Defendant

FIRST AMENDED COMPLAINT

TO THE HONORABLE, THE JUDGES OF SAID COURT:

COMES NOW the DONNELL DUSHANE STRIPLING, PERSONAL
REPRESENTATIVE OF THE ESTATE OF DORETHA STRIPLING, by and through
counsel, Michael S. Blumenthal, Esquire, and brings this action
against the defendant, MEDSTAR GEORGETOWN MEDICAL CENTER, INC., and
in support thereof, states as follows:

QQ§HI_l

l. That plaintiff's decedent, DORETHA.STRIPLING (hereinafter
“plaintiff's decedent”) was an adult citizen of the United States
and a resident of Prince George‘s County, Maryland, and plaintiff,
JONNELL DUSHANNE STRIPLING, is an adult citizen of the United
States and a resident of Prince George's County, Maryland.

2. That defendant, MEDSTAR GEORGETOWN MEDICAL CENTER, INC.,

(hereinafter the "defendant") is a corporation in the business of

 

 

 

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providing health care, and regularly conducts business at 10401
Hospital Drive, Suite lOl, Clinton, Prince George's County,
Maryland, and is licenced to do so.

3. That on or about February lB, 2011, the defendant did
cause a document containing plaintiff‘s decedent's private and
protected health information to be transferred via facsimile form
defendant's Department of Neurosurgery in Clinton, Prince George's

County, Maryland to plaintiff's a facsimile machine at place of

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mployment at 3060 Mitchellville Road, Suite 214, Bowie, Prince
George’s County, Maryland 20706..
5. That in doing so, defendant improperly publicized facts

bout plaintiff's decedent which were not of valid concern to the

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public and which are subject to federal privacy laws and as to

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;hich plaintiff enjoyed an expectation of privacy.
6. That the publication of these facts was highly offensive

to any reasonable person and constitutes unreasonable publicity

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iven to plaintiff's decedent's private life.

?. That it was then and there the duty of defendant, MEDSTAR
GEORGETOWN MEDICAL CENTER, lNC. to keep this information private.
B. That defendant, MEDSTAR GEORGETOWN MEDICAL CENTER, INC.,
then and there breached that duty of due care.

9. That the conduct on the part of defendant, MEDSTAR
CEORGETOWN MEDICAL CENTER, INC., was the actual and proximate cause
Cf the injuries suffered by the plaintiff's decedent.

lO. That as a direct and proximate result of the conduct of

 

 

 

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defendant, MEDSTAR GEORGETOWN MEDICAL CENTER, INC., the plaintiff’s
decedent suffered excruciating conscious pain and suffering, and to
suffer great mental anguish, loss of work and wages.

ll. That all such damages were directly and proximately caused
by the aforementioned conduct of the defendant, MEDSTAR GEORGETOWN
MEDICAL CENTER, INC., and were incurred without the consent of nor
contributory negligence of the plaintiff's decedent, nor an
opportunity for the plaintiff's decedent to prevent the conduct from
<ccurring.

WHEREFORE, the Plaintiff, DONNELL DUSHANE STRIPLING, PERSONAL

REPRESENTATIVE OF THE ESTATE OF'DORETHA STRIPLING, demandS judgment

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gainst the defendant, MEDSTAR GEORGETOWN MEDICAL CENTER, INC., in
tde amount of $TB0,000.00, plus costs.

DEMAND FOR JURY TRIAL
Plaintiff, DONNELL DUSHANE STRIPLING, PERSONAL REPRESENTATIVE
OF THE ESTATE OF DORETHA STRIPLING, DECEDENT, hereby demands a trial
by jury.
Respectfully submitt d,

CE.y/"/;>

Michael S. Blumenthal, Esq.
8201 Corporate Drive

Suite 1120

Landover, MD 20?85

(301) 459-4442

Attorney for Plaintiff

 

 

 

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CERTIFICATE OF SERVICE

l HEREBY CERTIFY that a copy of the foregoing First Amended
Zomplaint was sent, via email, this 28th day of August, 2013, to:

 

K. Nicole Nesbitt
knn@gdldlaw.com

 

Deborah C. Paraaz
doarras@dgldlaw.com

Goodell, Devries, Leech & Dann, LLP
Oqe South Street, 20th Floor
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Michael S. Blumenthal, Esg.

 

 

 

